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             EXHIBIT A




                EXHIBIT A
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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8

                                                       9

                                                      10
                                                                                       UNITED STATES BANKRUPTCY COURT
                                                      11
                                                                                                 DISTRICT OF NEVADA
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                            In re:
                                                      14                                                                Case No. 21-14486-abl
                                                                     INFINITY CAPITAL MANAGEMENT,                       Chapter 7
                                                      15             INC.

                                                      16                            Debtor.

                                                      17
                                                                     DECLARATION OF MICHAEL GRIFFIN IN SUPPORT OF JOINT MOTION OF
                                                      18              CHAPTER 7 TRUSTEE AND SECURED CREDITOR HASELECT-MEDICAL
                                                                       RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP TO
                                                      19                         APPROVE ABANDONMENT OF COLLATERAL
                                                      20             I, Michael Griffin, hereby declare as follows:

                                                      21             1.     I am over the age of twenty-one (21) years old and am mentally competent. I have

                                                      22   personal knowledge of the matters set forth herein except as to those matters stated on information

                                                      23   and belief, which I believe to be true, and if called upon as a witness to testify to these facts, I could

                                                      24   and would competently and truthfully do so.

                                                      25             2.     I make this Declaration in support of the Joint Motion of Chapter 7 Trustee and

                                                      26   Secured Creditor HASelect-Medical Receivables Litigation Finance Fund International SP to

                                                      27   Approve Abandonment of Collateral (the “Motion”) filed herewith.

                                                      28             3.     I am the majority member and manager of Griffin Asset Management LLC (“GAM”).


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                                                       1
                                                           GAM serves as asset manager to HASelect-Medical Receivables Litigation Finance Fund
                                                       2
                                                           International SP (“HASelect”).
                                                       3
                                                                  4.       I make this declaration based upon my own personal knowledge of the facts stated
                                                       4
                                                           herein as well as my review of the certain books and records of GAM and HASelect related to the
                                                       5
                                                           Debtor Infinity Capital Management, Inc. (“Debtor” or “Infinity”), including the exhibits attached
                                                       6
                                                           hereto. I am familiar with the business operations and document retention practices of both GAM
                                                       7
                                                           and HASelect. I am informed and believe that the business records I have reviewed in connection
                                                       8
                                                           with the preparation of this Declaration, including the exhibits attached hereto, were made at or near
                                                       9
                                                           the time of the events they document by, or from information transmitted by, a person with
                                                      10
                                                           knowledge of such events, all in the course of regularly conducted business activities.
                                                      11
                                                                  5.      Beginning in February 2019, HASelect made several loans to Infinity that were
              1731 Village Center Circle, Suite 150




                                                      12
                                                           document through various loan agreements and promissory notes through which Infinity pledged all
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                                                           of its assets to HASelect as collateral for such loans.
                                                      14
                                                                  6.      On or about December 18, 2019, HASelect, which was then doing business under the
                                                      15
                                                           name HASelect-FTM Medical Receivables Litigation Finance Fund SP, and Infinity entered into a
                                                      16
                                                           Second Amended & Restated Loan and Security Agreement and Promissory Note (the “MLA”). A
                                                      17
                                                           true and correct copy of the MLA is attached hereto as Exhibit 1.
                                                      18
                                                                  7.      The MLA superseded and restated all prior loans made by HASelect to Infinity as
                                                      19
                                                           well as extended further credit to Infinity.
                                                      20
                                                                  8.      Pursuant to the MLA, HASelect continues to hold a perfected security interest in all
                                                      21
                                                           of Infinity’s assets as collateral for all indebtedness owed by Infinity in connection with the MLA.
                                                      22
                                                                  9.      HASelect perfected its security interest in Infinity’s assets through the filing of a
                                                      23
                                                           UCC-1 with the Nevada Secretary of State. A true and correct copy of the UCC-1 filed by HASelect
                                                      24
                                                           is attached hereto as Exhibit 2.
                                                      25

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                                                       1
                                                                  10.     As of May 31, 2021, Infinity owed the following amounts to HASelect pursuant to
                                                       2
                                                           the MLA.
                                                       3
                                                                    Principal:                                                                $10,351,972
                                                       4            Unpaid fee owed under MLA § 1.3(c):                                           $87,500
                                                                    Interest accrued through May 31, 2021:                                     $3,051,648
                                                       5            Six percent (6%) of Advances owed under MLA § 1.3:                          $635,740
                                                                    Total:                                                                    $14,126.860
                                                       6
                                                           These amounts do not include other fees and costs owed by Infinity under the MLA that continue to
                                                       7
                                                           accrue as well as interest that continued to accrue past May 31, 2021, less any payments made by
                                                       8
                                                           Infinity since May 31, 2021.
                                                       9
                                                                  11.     Infinity has not paid any amount to HASelect since July 15, 2021.
                                                      10
                                                                  12.     As of September 14, 2021, Infinity owed total indebtedness in excess of $14 million
                                                      11
                                                           to HASelect pursuant to the MLA.
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                                                      12
                                                                  13.     Infinity used the proceeds of the loans it obtained from HASelect to purchase
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                                                           receivables from medical providers (the “Receivables”). The Receivables generally arise from
                                                      14
                                                           medical treatment provided to individuals who were injured in accidents and have asserted personal
                                                      15
                                                           injury claims. The Receivables are generally secured by liens against these personal injury claims
                                                      16
                                                           and are typically paid at the time the personal injury claims are settled.
                                                      17
                                                                  14.     I am informed and believe that the Receivables (along with the contracts, technology,
                                                      18
                                                           and records related thereto) constitute a substantial majority of Infinity’s assets and, therefore, a
                                                      19
                                                           substantial majority of the collateral for the indebtedness owed to HASelect under the MLA.
                                                      20
                                                                  15.     To increase the likelihood that the Receivables will be collected, it is imperative that
                                                      21
                                                           the status of the personal injury claims that secure payment of the Receivables be actively monitored
                                                      22
                                                           through regular contact with the attorneys handling such claims. Without such contact, there is an
                                                      23
                                                           increased risk of these attorneys neglecting payment of the Receivables when the personal injury
                                                      24
                                                           claims are settled. Additionally, personal injury claims that secure payment of the Receivables
                                                      25
                                                           sometimes result in the filing of interpleader actions in which settlement proceeds are deposited with
                                                      26
                                                           the court and claims must be submitted in order to receive payment.
                                                      27
                                                                  16.     I am informed and believe that, prior to the filing of its Chapter 7 petition, Infinity
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                                                       1
                                                           performed monitoring and collection services with respect to the Receivables. Based on recent
                                                       2
                                                           communications with Infinity and its counsel, I am informed and believe that Infinity is no longer
                                                       3
                                                           providing any monitoring or collections services.
                                                       4
                                                                   17.     I am informed and believe that payments on account of the Receivables continue to
                                                       5
                                                           be received by mail by Infinity’s principals, Anne Pentalas and Oliver Hemmers.
                                                       6
                                                                   18.     For the reasons explained above, I believe there is a substantial risk that the
                                                       7
                                                           Receivables owed under the MLA will quickly dissipate in value if appropriate monitoring and
                                                       8
                                                           collection services do not promptly resume.
                                                       9
                                                                   19.     I declare under penalty of perjury of the laws of the United States that the foregoing
                                                      10
                                                           is true and correct.
                                                      11
                                                                   DATED this 22nd day of September 2021.
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                                                 /s/ Michael Griffin
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                                                         MICHAEL GRIFFIN
                        (702) 471-7432




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                                                       1                                  CERTIFICATE OF SERVICE

                                                       2          1.    On September 22, 2021, I served the following document(s): DECLARATION OF
                                                                        MICHAEL GRIFFIN IN SUPPORT OF JOINT MOTION OF CHAPTER 7
                                                       3                TRUSTEE      AND       SECURED          CREDITOR      HASELECT-MEDICAL
                                                                        RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP TO
                                                       4                APPROVE ABANDONMENT OF COLLATERAL
                                                       5          2.    I served the above document(s) by the following means to the persons as listed
                                                                        below:
                                                       6
                                                                        ց      a.      ECF System:
                                                       7
                                                                        MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL
                                                       8                MANAGEMENT, INC.
                                                                        mzirzow@lzlawnv.com; carey@lzlawnv.com; trish@lzlawnv.com;
                                                       9                allison@lzlawnv.com; zirzow.matthewc.r99681@notify.bestcase.com
                                                      10                ROBERT E. ATKINSON, Chapter 7 Trustee
                                                                        Robert@ch7.vegas; TrusteeECF@ch7.vegas; ecf.alert+atkinson@titlexi.com
                                                      11
                                                                        U.S. TRUSTEE – LV – 7, U.S. Trustee
              1731 Village Center Circle, Suite 150




                                                      12                USTPRegion17.LV.ECF@usdoj.gov
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                տ      b.      United States mail, postage fully prepaid:
                        (702) 471-7432




                                                      14                տ      c.      Personal Service:
                                                      15                I personally delivered the document(s) to the persons at these addresses:
                                                      16                                տ       For a party represented by an attorney, delivery was made by
                                                                        handing the document(s) at the attorney’s office with a clerk or other person in
                                                      17                charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                        in the office.
                                                      18
                                                                                        տ       For a party, delivery was made by handling the document(s)
                                                      19                to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                        place of abode with someone of suitable age and discretion residing there.
                                                      20
                                                                        տ      d.      By direct email (as opposed to through the ECF System):
                                                      21
                                                                        Based upon the written agreement of the parties to accept service by email or a
                                                      22                court order, I caused the document(s) to be sent to the persons at the email
                                                                        addresses listed below. I did not receive, within a reasonable time after the
                                                      23                transmission, any electronic message or other indication that the transmission was
                                                                        unsuccessful.
                                                      24
                                                                        տ      e.      By fax transmission:
                                                      25
                                                                        Based upon the written agreement of the parties to accept service by fax
                                                      26                transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                        numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      27                of the record of the fax transmission is attached.
                                                      28                տ      f.      By messenger:


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                                                                        I served the document(s) by placing them in an envelope or package addressed to
                                                       2                the persons at the addresses listed below and providing them to a messenger for
                                                                        service.
                                                       3
                                                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                       4
                                                                        Dated: September 22, 2021.
                                                       5                                               By: /s/ Bart K. Larsen, Esq,

                                                       6

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              1731 Village Center Circle, Suite 150




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                   Las Vegas, Nevada 89134
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